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 5                           UNITED STATES DISTRICT COURT
 6
                            CENTRAL DISTRICT OF CALIFORNIA

 7
                                                    Case No.: 2:16-cv-00050-AB-KK
 8
     ROBERT HINDERSTEIN,
                   Plaintiff,
 9
            vs.                                     [PROPOSED] ORDER
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11
     SYNCHRONY BANK, et al,
12
                  Defendant.
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15
            PURSUANT TO THE STIPULATION, IT IS SO ORDERED that all claims of
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     Plaintiff, Robert Hinderstein, against Defendants, Synchrony Bank and Genpact
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     International, Inc., are dismissed, with prejudice. Plaintiff and Defendants shall each
18
     bear their own costs and attorneys’ fees.
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            IT IS SO ORDERED.
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23
     Date: December 15, 2016
24                                                    Honorable André Birotte Jr.
                                                      United States District Judge
25




                                         [PROPOSED] ORDER
                                                -1-
